                                Case 3:25-cv-01918-RFL                                        Document 1-1                          4
                                                                                                                                    Filed ^
                                                                                                                                          02/24/25                            Page 1 of 1/8
JS-CAND44(Re\. I2,20;4)
                                                                                     CIVIL COVER SHEET
This civil cmcr sheet docs not replace or supplement the llliim and service of pleadings or other papers. The information on this lorin. approved in us original lorm i
.liidicial Confcrcnccofthe United Slates in September 1974, is required for die Clerk of Court to initiate the civil docket. Instnictions are on the reverse ol this lorm.


1. rLAINI IFF(S)                                                                                                  I)EFENDANT(S)

 FITZPA TRICK, CATHY J.                                                                                            THE UNITED STATES and THE SECRETARY OF THE TREASURY

County of Residence of First Listed I’laintiff:                                                                   County of Residence of I' irst Listed Defendant;
I.eaw blank in cases where Uniiecl Slates is {ilainli.ff    Alameda CounU’, CaliTornia                            Use OXl.y ill cam lUie/e UiiiicJSiaies isplumli/l.

Attorney or Pro Se Litigant Infomiation tFirm Same, .-Uklress. ami Telephone Sumben                               Defendant's Atlomcy's Name and Contact Infomiation lifkmnx ni
Cathy J. Fitzpatrick, appearing in person
295 29th St Unit 711, Oakland, CA. 94611-5756;(650) 669-7308
II.          BASIS OI JUKISDICTTON                               on   "A " m l)ne Has Only)                        III.       CAUSE OF AC TION
            U.S. Goveramoni Plaintiff                Federal Onestiiin                                           I Cite the U.S. Statute under vvhieh you are ftling: (Use innsilieiional sunuies only lor dieersnyi
                                                     I U.S. (iorerimieiil Sol a I'arlyi                            2ft U.S.C. >! 7422(a), 2K I :.S.C. <i I.Wa), 2ft L.S.f. ^ ft2l,l(a), ,md uihci Malalcs mentioned in llie eomiilainl
      X     U.S. Govemmem Dd'cndani                  Diversity
                                                                                                                   I5rief description of ease:         Recover) of illegal exactions and lax refunds and eqnilahlc relief

 IV.          NA TURE OF SUIT iriace an .V" in One Hox Onlyl
                                                                         TORTS                                       FORFErrURE/PESALTV                             BANKRUPTCY                           OTHER STATUTES
              CONTRACT
                                                                                                                     625 Drug Related Seizure of              422 Appeal 28 USC i) 158                375 False Claims Act
      I Ml Insurance                         PERSONAL INJURY                       PERSONAL INJURY
      120 Marine
                                                                                                                         Property 21 USC §881                 423 Withdrawal 28 USC                   376Qui Taml31 USC
                                           310 Airplane                         365 Personal Injury - Product
                                                                                                                     690 Other                                     )! 157                                   fj 372y|a))
      1.30 Miller Act
                                           31-5 Airplane Product 1.lability          Liability
                                                                                367 Health Care/                                 LABOR                          PROPERTY RIGHTS                       400 State Reapporlionmcnt
      140 Negotiable Instrument            320 AssauU. Libel & Slander
                                                                                    Pharmaceutical Personal                                                                                           410 Amimisl
      150 Recovery ofOverpa)iiicni         330 Federal Employers'                                                     710 Fair Labor Standards Act            820 Copyrights
            & linforceinent of                                                       Injury Product Li.ibility                                                                                        430 Haak.s and Hanking
                                                Liability                                                             720 l.alxir/Mnnagemenl                  830 Patent
            Judgment                                                            368 Asbestos Personal Injury               Rclaliuiis
                                                                                                                                                                                                      4,50 Coinnieree
                                           340 .Marine                                                                                                        835 I’aieiii—Abbreviated New
      151 Medicare Act                                                               Ptoduci Liability                                                                                                460 IX'poftJtion
                                           345 Marine Product l.iabilily                                              740 Railway Labor Act                        Drug Application
                                                                                 PERSONAL PHOPEU TY                                                                                                   470 Racketeer Inihienccd &
      152 Recovery of Defaulted            3-50 Motor Vehicle                                                         751 Family and Medical                  840 Trademark
            Sludem Loans                                                        370 Other I'raud                           l.eave Act                         880 Defend Trade Secrets                      C orrupt Organizations
                                           355 Motor Vehicle Product
            (Excludes Velcrans)                                                 371 Truth in (.ending                                                              Act of 2016                        480 Consumer Credit
                                                Liability                                                             790 Ollier Labor Litigation
      153 Recovery of                                                           380 Ollier Personal Properly                                                                                          485 I'elephonc Consumer
                                           360 Other Personal Injury                                                  791 Employee Retirement                  SOCIAi. SEC URIT Y
          Overpayincni                                                              Damage                                                                                                                  Protection Act
                                           362 Personal Injury -Medical                                                   Income Security Act
            of Veteran's Benefits                                                                                                                             861 illA (1395fr)                       490 Cablc/Sat TV
                                                                                385 Properly Damage Prodiiei
                                               Malpractice                                                                 IM.MIGR/U'ION
                                                                                                                                                              862 Black Lung (9231
      160 Sloekholders' Suits                                                         Liability                                                                                                       850 Securiiies Commodiiies-'
                                                                                                                      462 Naturalization                      863 DIWC/DIWW (405(g))                       l■xchilllgc
      190 Other Contract                         CIVIL RICH I S                  PRISONER PET ITIONS
                                                                                                                           Application                        864 SSID Title XVI                       890 Other Statutory Actions
      195 Contract Product Liability
                                           440 Other Civil Rights                    HABEAS CORPUS
                                                                                                                      465 Other Immigration
      196 Franchise                                                                                                                                           865 RSI (405(g))                         891 Agricultural Acts
                                           441 Voting                            463 Alien Detainee                        Actions
                                                                                                                                                               FEDERAL TAX SUITS                       893 linviromnenial Matters
           REAL PROPERTY
                                           442 Employment                        510 Motions to Vacate
                                                                                                                                                                                                       895 Freedom of Infonnalion
      210 Land Coudemiialion               443 Housing/
                                                                                      Sentence                                                             X 870 Taxes (U.S. Plaintiff or
                                                                                                                                                                                                            Act
                                                Accommodations                   530 General
                                                                                                                                                                    Derendani)
      220 Foreclosure
                                                                                                                                                                                                       896 Arbitration
      230 Rent Lease & Ejecimeni           445 AilKT. w/Uisabilities-            535 Death Penally                                                            871 IRS Third Party
                                                                                                                                                                   26 U.S.C. § 760')                   89‘J Administrative Procedure
      240 Torts to Land                         Employmcin                                 OTHER                                                                                                            Act/Review or Api>cal of
                                           446 Amcr. w,'Disabilities Other
      245 Tort Product Liability                                                 540 Mandamus A; Other                                                                                                      Agency Decision
                                           448 Education
      290 All Other Real Property                                                550 Civil Rights                                                                                                     95tl Consiiiiiiionalily of Slate
                                                                                                                                                                                                            Statutes
                                                                                 555 Prison Condition
                                                                                 560 Civil Dclainee -
                                                                                      Conditions of
                                                                                      Confinement


  V.           ORIGIN triaee         an   ■'A'' III One Box Onlyl                                                                                                                                 Mullidisiriet Uligaiion-Transfcr
 X        Original Proceeding       Removed Iroin Slate Court         : Remanded from Appellate Court ,          Reinstated or Reopened ■          Translerred from Another District              ●Muliidisirici Lingaiiou-Direct File


  VI. FOR DIVERSITV CASES ONLY:                                                                         VII.       REQUES I ED IN COMPLAINT
            C ITIZENSHIP OF PRINCIPAL PARTIES
            I Place an "A” in One Bax far Plainiilf and One Box for Defendani)                           V    Clicck if the complaint cuniaiiis a jury (Jemiind.
 Plahilifr     Deft'inlaiil                                                                              /    Check if the complaint contains a monclary dcmaiuL Amount: S3,262.98 plus interest.
                         Citizen of Califumia
                                                                                                              Cheek if the complaint seeks class acliiin status under I'ed. R. Civ, P. 2.3.
                         Citizen of Another Slate
                                                                                                             . Check if the complaint seeks a nalionvv ide injunction or Administrative Procedure Act vacatur.
                         Citizen    Subject ol a Foieign Country

                         Incorporated or Prineipal Place of Business In Calilornia
                         Ineorporaied and Principal Place of Business In Another Slate
                         Foreign Nation

  MIL RELATED CASE(S) OR MDL CASE
               ProeUle case minielsl. numberls). and presiding jndpels).          None
   IX.         DIVISIONAL ASSIGNMENT pursuam m Civil Local Rule .3-2
                /Place an ".V" in One Box Only)             X SAN FRANCISCO/OAKLANI)                                                      SAN JOSE                                EUREKA-MCKINLFA VU.LE

                                                    Venue Note: This case concerns federal taxes.
   DA I E          ()2/24/2()25                       SIGNATURE OF ATTORNEY OR PRO SE LITIGANT
